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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS

    ---------------------------------------------------X
    IN RE:
    Mary Kathryn O`Brien                                   CHAPTER 13
    aka M. Kathryn O`Brien                                 CASE NO. 17-14104

                           Debtor
    ---------------------------------------------------X

                 STIPULATION ON THE MOTION FOR RELIEF FROM STAY

       At Boston, in the Eastern Division of the District of Massachusetts, on the 22nd day of

August, 2018, on a Motion for Relief from Stay, the parties herein, Deutsche Bank National Trust

Company, as Trustee for WAMU Mortgage Pass-Through Certificates Series 2005-AR11 Trust (with

any subsequent successor or assign, the “Creditor”), and Mary Kathryn O’Brien aka M. Kathryn

O’Brien (the “Debtor”), after notice to all parties, and in settlement of the issues presented on the

premises commonly known as 103 High Road a/k/a 101 High Road, Newbury, MA 01951 (the

“Property”), hereby agree and enter into the following stipulation:

   1. The Creditor’s Motion for Relief is granted and will become effective thirty (30) days from

the date of any order approving this Stipulation. The Creditor shall take no action to schedule or

advertise any foreclosure sale at the premises until the expiration of 30 days from the date of any

Oder approving this Stipulation.

   2. The automatic stay imposed in this case by section 362(a) of the Bankruptcy Code, shall,

upon the expiration of the time period set forth in paragraph 1, be vacated under section 362(d) of

the Bankruptcy Code as to the Creditor’s interests in the Property to allow the Creditor’s

enforcement of its rights in, and remedies in and to, including but not limited to foreclosure of the

mortgage lien on the Property;

   3. The Creditor shall promptly report and turn over to the case trustee any surplus monies

realized by any sale of the Property;
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   4. The Trustee shall cease making disbursements, if commenced, to the Creditor on its secured

claim and that the Creditor is exempt from future compliance with Rule 3002.1 of the Federal Rules

of Bankruptcy Procedure.


Dated: __________________
Boston, Massachusetts

                                                   ______________________________
                                                   Honorable Melvin S. Hoffman
                                                   United States Bankruptcy Judge
